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e | Verizon & 7:49 AM C7} =

<

Howard

Thu, Jun 7, 11:59 AM

Have these Warhol's for sell in
my gallery if your interested

BT alerstore

GOVERNMENT
EXHIBIT

CASE 14-20884-cR-Kmw

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a! Verizon © 7:49 AM _7% =

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Howard

There mint perfect -

Taking offers

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e)aiclece

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e)UhYar- |i me:

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oe Verizon = 7:49 AM _7%} a

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Howard

| couldn't convince my client on
it

Thu, Jun 7, 2:10 PM

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i Mat=)"ar-|e-ma\i(e) B46 ol ORM for] a16 iM Loy

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o) mm 81>) (0),

a"dateherclacm carom lalei\aleletclme)siecrors

| sent out to my clients just now

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20 Coa
2 0 CASE

NO.  14-20884-CR-KMW

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eo Verizon = 7:49 AM IJ} a=

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Pid oe

Howard

If | can find them

There hard to find cheap

Tue, Jul 10, 6:24 PM

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38k
Nave miavelnvalelere ling
Rabbit 14000 covgramen
Swan 12000 See
Monkey 12000 ee

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eo Verizon = 7:49 AM _7%} =

Ok 30 min

Wed, Jul 11, 1:03 PM
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Saat] ga als) aoe) ale mcie) a adel icmelele

Wed, Jul 11, 2:24 PM

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at! Verizon & 7:49 AM _7} =

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Howard

: Bat-lalccrm (him aeleeal omeni-male)
Wels

95 pp
82 for regular set

England winning

Great

Hope they win

Silvia and | were very happy to OnE
meet you today CREE Sarai
Wi. a eee Se eee, 2 Be eh & ie ie as exueit “J Ie

Case 1:14-cr-20884-KMW Document 80-7 Entered on FLSD Docket 08/14/2018 Page 7 of 18

a Verizon © 7:50 AM 7} =

<

He called me again he’s saying
he’s has the Kaws originals and
Can ask Pharrell

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NO. 14-20884-CR-KMW

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Wed, Jul 11, 6:12 PM els

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eo Verizon © 7:50 AM _7} =

Howard

Let me know if you want me to
pick up my animals Koons sets

too
GW iilRefomnr-lieiare i ia\st- 1mm) ial }
Beil(=iai'
Ok &
Thu, Jul 12, 12:13 PM
Hi Guy

Pharrell guys are going to meet
me tonight around 8 pm I'll
keep you updated

Do you want to meet tomorrow a

~ at the gallery? SPEXHIBIT
And do you need me to ship COE sazoen eso
the Koons to Jennifer? er hy
Case 1:14-cr-20884-KMW Document 80-7 Entered on FLSD Docket 08/14/2018 Page 9 of 18

eo Verizon = 7:50 AM

<

Howard

Good evening Guy

| wanted all night for these
guys there at a high end
restaurant right now with some
of the Miami Heat players he
told and will come tomorrow
afternoon

If you want I'll wire you 60k in
the morning to cover the
basquiat

Once | get the basquiat in my
hands I'll text you ASAP
What do you think

Howard

Fri, Jul 13, 11:36 AM

7% =

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NO. 14-20884-CR-KMW

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e Verizon = 7:50 AM

Howard

Beverly Hills, CA 90212
Account Name: 10012 Holdings INC.

Account:
Routing:

SWIFT

Tony only gave me 60 for Ernok
Do you want me to wire 28,000
And send the ankle bracelet
today

Page 10 of 18

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No. 14-20884-cR-kKmMW
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Verizon = 7:50 AM

Howard
No | sent his Pinocchio to
Taiwan and piranhas to
London and his Pinocchio Is
pee ordered and coming in with
my

Yes | want to resolve everything
And especially make you happy
Lebron James it here in Miami
With all these guys

lf your on the beach you might
see them

@

CASE
NO.

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14-20884-CR-KMW

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Niki beach

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1:14-cr-20884-KMW

e Verizon =>

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7% =

7:50 AM

Howard

And I'll text you tonight when
they show up

LO BANK

ri, Jul 13, 3:07 PM

TO BE COMPLETED BY THE CUSTOMER REQUESTING THE WIRE TRANSFER ORDIB

onnotneqen, 7/13/2018

wrpbeuwienas (60,000.00 ° —_ ecrwinupbyrofl
areocy Tee: USD = al

‘ORIGINATOR DATA

5 sr wart Grove Fine Art LLC

AE Main St#20_

Miami, FL 33133

GOVERNMENT
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CASE
NO. 14-20884-CR-KMW

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Case 1:14-cr-20884-KMW Document 80-7 Entered on FLSD Docket 08/14/2018 Page 13 of 18

ea! Verizon =

7:51 AM

40012 HOLDINGS INC ACCOUNT

5 ey
ro (A
Sent: Friday, July 13, 2018 1:21
To Sandra Avila
‘Subject: : Bank wire |

Wire completed

14

7% =

GOVERNMENT

EXHIBIT

CASE
No. 24-20884-cR-kKMW

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non AM

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eo Verizon = 7:51 AM _7%} a

Howard
will Call you. YOU Nave IUUUU%
percent nothing to worry about
the deposit. We leave the Bora
resort tonight.

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Ok

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Yes
Aiat-lel @yelensiciom elem ici (cis
Delivered

Your welcome

| AOS8e-C

oO ExHIBIT
This is my text | started at 7AM lose cum
this morning ewer FN

15

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Verizon

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>

7:51 AM

Howard

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fe TRANSFER ORDER

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ai Verizon = 7:51 AM _7%} =

<

Howard
Hi Guy
| returned the funds ASAP this
morning
I'm trying to get a refund too
from that guy
| waited until 1 Am last night at
the gallery

Here's proof of the wire

Magtsy-lalagie)antalsm gale) emeyell|

raveliniiarerg
Same guy
| sent him 183k June 29
fF aGieeneier

| told him I'm calling the police
today

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17
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e Verizon > 7:51 AM

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Howard

73

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ir ale ovo) ale magicurelamia\ie)leccm e) (stro

icelanit

Yes

AB et-lalenele)

eal @imey-isye[eir-lmcjale\ucmele

| have the ankle bracelet in my

hands

I'm so upset with this guy

18

b (atom ste a!

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CASE
NO. 14-20884-CR-KMW

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NO.

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7}

<

Verizon = 7:51 AM

VaVUA

From the seller

Tue, Jul1/, 3:10 PM

Silvia said to call her if you
want to purchase the Kaws

ae not helping
er anymore It’s her gallery

Please try and understand her
English | can’t translate for her
Anymore

| AOS86-C

GOVERNMENT
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Read 7/17/18

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